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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

                                                    :
Tinessa Armock,                                     :
                                                      Civil Action No.: 1:14-cv-970
                                                                         ______
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
                                                    :
                                                      DEMAND FOR JURY TRIAL
Alliance Health Networks, LLC,                      :
                                                    :
                        Defendant.                  :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, the Plaintiff, Tinessa Armock, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.


                                              PARTIES

        3.      The Plaintiff, Tinessa Armock (“Plaintiff”), is an adult individual residing in

Stanton, Michigan, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Alliance Health Networks, LLC (“AHN”), is a Utah business entity

with an address of 9 Exchange Place, Suite 200, Salt Lake City, Utah 84111, and is a “person” as

defined by 47 U.S.C. § 153(39).
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                                               FACTS

       5.      Within the last year, AHN placed calls to Plaintiff’s cellular telephone using an

automated telephone dialer system (“ATDS”).

       6.      When Plaintiff answered AHN telephone calls, she was met with a period of

silence following which the calls disconnected.

       7.      Plaintiff has no business relations with AHN and never requested by an agreement

or otherwise that she be contacted.

       8.      Plaintiff never provided her cellular telephone number to AHN and never

provided her consent to AHN to be contacted on her cellular telephone.

                                             COUNT I

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       9.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       10.     At all times mentioned herein and within the last year, Defendant called Plaintiff

on her cellular telephone using an automatic telephone dialing system (“ATDS” or “Predictive

Dialer”).

       11.     The Federal Communications Commission (FCC) defines a Predictive Dialer as

“a dialing system that automatically dials consumers’ telephone numbers in a manner that

“predicts” the time when a consumer will answer the phone and a [representative] will be

available to take the call…”2003 TCPA Order, 18 FCC 36 Rcd 14022. The FCC explains that if

a representative in not “free to take a call that has been placed by a predictive dialer, the

consumer answers the phone only to hear ‘dead air’ or a dial tone, causing frustration.” Id.




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       12.     The TCPA places prohibitions on companies that “abandon” calls by setting “the

predictive dialers to ring for a very short period of time before disconnecting the call; in such

cases, the predictive dialer does not record the call as having been abandoned.” Id.

       13.     Often times when Plaintiff answered the phone, she was met with several seconds

of dead air before Defendant’s telephone system would disconnect.

       14.     Often times when Plaintiff answered the phone, she would hear a period of silence

and was required to say “hello” several times before Defendant’s phone system would

disconnect.

       15.     Defendant’s Predictive Dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

       16.     Plaintiff never provided her cellular telephone to Defendant and never provided

her consent to be contacted on her cellular telephone.

       17.     The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       18.     The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       19.     The calls from Defendant to Plaintiff failed to include an opt-out message

pursuant to 47 C.F.R. § 64.1200(a)(7).

       20.     The abandoned calls from the Defendant to the Plaintiff failed to provide a

prerecorded identification pursuant to 47 C.F.R. § 64.1200(a)(7).

       21.     Each of the aforementioned calls made by Defendants constitutes a violation of

the TCPA.




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       22.     As a result of each of Defendants’ negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call placed in violation of the

TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       23.     As a result of each of Defendants’ knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

               1. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

               2. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C);

               3. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: September 15, 2014


                                             Respectfully submitted,

                                             By: /s/ Sergei Lemberg, Esq.
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